                         EXHIBIT C
Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                Description: Exhibit C Invoice 01101, Page 1 of 8
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com

Official Committee of Unsecured Creditors of                             Issue Date :      5/2/2023
The Diocese of Rochester, New York                                             Bill # :       01101




Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date     Timekeeper Narrative                                                      Hours    Amount
3/1/2023 Timothy Burns Participate in call with I. Scharf re insurance              1.30    $910.00
                       developments with Diocese (.1); brief review of draft
                       mediation protocol (.2), brief review of motion to
                       appoint mediator (.2), review and respond to email
                       from I. Scharf re same (.1): attend part of Committee
                       meeting re plan and ongoing developments (.6);
                       participate in post-call with J. Bair re same and
                       potential next-steps (.1);
3/1/2023 Jesse Bair    Participate in portion of state court counsel meeting re 0.70        $437.50
                       Plan and litigation issues (.6); participate in post-call
                       with T. Burns re same and potential next-steps (.1);
3/1/2023 Jesse Bair    Correspondence with I. Nasatir re First State settlement 0.10         $62.50
                       status (.1);
3/2/2023 Jesse Bair    Additional correspondence with I. Nasatir re First State 0.10         $62.50
                       settlement status and potential counter (.1);
3/2/2023 Jesse Bair    Correspondence with I. Scharf and I. Nasatir re call to      0.10     $62.50
                       discuss draft stipulated judgment motion and protocols
                       (.1);
3/2/2023 Jesse Bair    Analysis re third-party release issue re insurer 9019        0.30    $187.50
                       motion (.3);
3/3/2023 Timothy Burns Supplemental review re the Diocese's stipulated              2.10   $1,470.00
                       judgment protocol and motion to appoint mediators (.3);
                       participate in initial conference with J. Bair re the
                       Diocese's draft stipulated judgment protocols and
                       motion to appoint stipulated judgment mediators (.2);
                       participate in supplemental conference with J. Bair re
                       same and overall litigation insurance strategy (.5);
                       participate in portion of call re stipulated judgments with
                       I. Nasatir and J. Bair (.3); participate call with state
                       court counsel re stipulated judgment motion and related
                       issues (.8);
3/3/2023 Jesse Bair    Review draft stipulated judgment protocol received           0.30    $187.50
                       from the Diocese (.3);
    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit C Invoice 01101, Page 2 of 8
3/3/2023 Jesse Bair    Review draft motion to appoint stipulated judgment           0.40    $250.00
                       mediators received from the Diocese (.4);
3/3/2023 Jesse Bair    Participate in initial conference with T. Burns re the       0.70    $437.50
                       Diocese's draft stipulated judgment protocols and
                       motion to appoint stipulated judgment mediators (.2);
                       participate in supplemental conference with T. Burns re
                       same and overall litigation insurance strategy (.5);
3/3/2023 Jesse Bair    Participate in conference with I. Nasatir and T. Burns re    0.50    $312.50
                       draft stipulated judgment protocols (.5);
3/4/2023 Jesse Bair    Review and edit revised draft of the joint Plan (2.3);       2.40   $1,500.00
                       correspondence with I. Scharf re same (.1);
3/4/2023 Timothy Burns Review correspondence from J. Bair to I. Scharf re           0.10     $70.00
                       suggested Plan changes (.1);
3/6/2023 Jesse Bair    Analyze New York case law re stipulated judgment             0.80    $500.00
                       enforcement in connection with the motion to appoint
                       stipulated judgment mediators and particular Plan
                       provisions (.8);
3/6/2023 Jesse Bair    Continue reviewing and editing current draft of the          0.50    $312.50
                       motion to appoint stipulated judgment mediators (.5);
3/6/2023 Jesse Bair    Draft additional insurance-related edits to the Plan (.2);   0.40    $250.00
                       correspondence with I. Scharf re same (.1); additional
                       analysis re insurance Plan strategy (.1);
3/6/2023 Jesse Bair    Continue reviewing and editing current draft of the          0.40    $250.00
                       stipulated judgment protocol (.4);
3/6/2023 Jesse Bair    Draft correspondence to I. Scharf re suggested edits to      0.20    $125.00
                       the stipulated judgment protocol and the motion to
                       appoint stipulated judgment mediators (.2);
3/6/2023 Jesse Bair    Participate in conference with T. Burns and particular       0.20    $125.00
                       state court counsel re suggested edits to the stipulated
                       judgment protocol (.2);
3/6/2023 Timothy Burns Participate in conference with J. Bair and particular        0.20    $140.00
                       state court counsel re suggested edits to the stipulated
                       judgment protocol (.2);
3/7/2023 Jesse Bair    Review and edit most recent version of the draft Plan        0.90    $562.50
                       circulated by I. Scharf (.8); correspondence with I.
                       Scharf re additional suggested edits to same (.1);
3/7/2023 Jesse Bair    Participate in state court counsel meeting re Plan           0.90    $562.50
                       issues (.9);
3/8/2023 Jesse Bair    Review correspondence from I. Scharf re CNA's                0.10     $62.50
                       motions to compel (.1);
3/8/2023 Jesse Bair    Review correspondence from I. Scharf re updates re           0.10     $62.50
                       Plan issues (.1);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re Plan issues       0.10     $62.50
                       (.1);
3/9/2023 Jesse Bair    Participate in additional conference with T. Burns re        0.10     $62.50
                       stipulated judgment protocol (.1);
3/9/2023 Jesse Bair    Participate in state court counsel meeting re Plan           0.40    $250.00
                       issues and other ongoing case issues (.4);



    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit C Invoice 01101, Page 3 of 8
3/9/2023 Timothy Burns Review correspondence from I. Scharf re hearing on             1.00    $700.00
                         motion to compel and discovery scheduling (.1); review
                         correspondence from I. Scharf re claims reviewer (.1);
                         review correspondence between committee
                         professionals re potential edits to draft plan (.2);
                         conference with J. Bair re plan draft status (.1);
                         conference with J. Bair re stipulated judgment protocol
                         (.1); attend state court counsel meeting re ongoing
                         projects for insurance purposes (.4);
3/10/2023 Jesse Bair     Review correspondence from state court counsel re            0.10     $62.50
                         CNA's motions to compel (.1);
3/11/2023 Jesse Bair     Review and edit BB's third interim fee application (1.3);    1.30    $812.50
3/11/2023 Timothy Burns Review correspondence from state court counsel re             0.10     $70.00
                         CNA discovery issues (.1);
3/13/2023 Nathan Kuenzi Participate in conference with internal BB team re case       0.10     $42.00
                         developments, strategy, and assignments (.1);
3/13/2023 Brian Cawley Participate in conference with internal BB team re case        0.10     $42.00
                         developments, strategy, and assignments (.1);
3/13/2023 Leakhena Au Participate in conference with internal BB team re case         0.10     $42.00
                         developments and assignments (.1);
3/13/2023 Alyssa Turgeon Participate in conference with internal BB team re case      0.10     $36.00
                         developments and assignments (.1);
3/13/2023 Timothy Burns Meet with BB team re ongoing projects (.1); review            0.20    $140.00
                         correspondence with the Diocese re mediation
                         attendance (.1);
3/13/2023 Jesse Bair     Review CNA's letter to the Court re the UCC's                0.20    $125.00
                         requested hearing adjournment on CNA's motions to
                         compel (.1); review Committee response letter to same
                         (.1);
3/13/2023 Jesse Bair     Review correspondence from I. Scharf re case update          0.10     $62.50
                         and call (.1);
3/13/2023 Jesse Bair     Participate in internal BB team conference re case           0.10     $62.50
                         status and ongoing projects (.1);
3/14/2023 Timothy Burns Conference with J. Bair re insurance issues in                1.70   $1,190.00
                         connection with draft Plan (.1); brief review of Plan
                         documents in advance of state court counsel meeting
                         (.8); participate in state court counsel meeting for
                         insurance purposes (.5); participate in post-meeting
                         call with committee professionals re Plan finalization
                         and stipulated judgment protocol (.3);
3/14/2023 Jesse Bair     Review and edit most recent version of the draft Plan        0.70    $437.50
                         (.6); participate in conference with T. Burns re insurance
                         issues in connection with same (.1);
3/14/2023 Jesse Bair     Review current version of the motion to appoint              0.10     $62.50
                         stipulated judgment mediators (.1);
3/14/2023 Jesse Bair     Review draft trust allocation protocol (.3);                 0.30    $187.50
3/14/2023 Jesse Bair     Draft correspondence to PSZJ team outlining potential        0.30    $187.50
                         additional insurance-related edits to the Plan (.2);
                         follow-up correspondence with I. Nasatir and I. Scharf re
                         same (.1);

    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit C Invoice 01101, Page 4 of 8
3/14/2023 Jesse Bair     Participate in state court counsel meeting re Plan             0.50    $312.50
                         issues for insurance purposes (.5);
3/14/2023 Jesse Bair     Participate in call with I. Nasatir, I. Scharf, and T. Burns   0.30    $187.50
                         re insurance issues in connection with Plan finalization
                         and stipulated judgment protocol (.3);
3/15/2023 Jesse Bair     Participate in Committee meeting re Plan issues and            1.00    $625.00
                         case update for insurance purposes (1.0);
3/15/2023 Timothy Burns Participate in Committee meeting re Plan issues for             1.00    $700.00
                         insurance purposes (1.0);
3/17/2023 Jesse Bair     Review final version of BB's third interim fee application     0.10     $62.50
                         (.1);
3/18/2023 Timothy Burns Analyze case law regarding stipulated                           3.60   $2,520.00
                         judgments/settlements in connection with ongoing Plan,
                         settlement, and litigation issues (3.6);
3/20/2023 Jesse Bair     Review agenda for state court counsel meeting (.1);            0.10     $62.50
3/20/2023 Jesse Bair     Review revised draft of proposed non-monetary Plan             0.10     $62.50
                         terms (.1);
3/21/2023 Brian Cawley Analysis re the ability of an injured party to provide           2.00    $840.00
                         notice instead of a policyholder under New York
                         Insurance Law Section 3420 (1.8); draft summary of
                         Section 3420 research (.2);
3/21/2023 Jesse Bair     Review B. Cawley email memorandum re the insurers'             0.10     $62.50
                         purported late notice defense (.1);
3/21/2023 Jesse Bair     Review correspondence from I. Scharf re Plan issues            0.10     $62.50
                         (.1);
3/23/2023 Nathan Kuenzi Participate in BB team meeting re case developments             0.20     $84.00
                         and associated projects (.2);
3/23/2023 Leakhena Au Participate in BB team meeting re case developments               0.20     $84.00
                         and associated projects (.2);
3/23/2023 Alyssa Turgeon Participate in BB team meeting re ongoing case                 0.20     $72.00
                         development and projects (.2);
3/23/2023 Brian Cawley Participate in BB team meeting re case developments              0.20     $84.00
                         and associated projects (.2);
3/23/2023 Brian Cawley Additional research re claimant notice requirements              0.40    $168.00
                         under New York Insurance Law Section 3420 (.3); draft
                         summary of research findings (.1);
3/23/2023 Timothy Burns Review revised version of draft Plan for insurance              3.10   $2,170.00
                         purposes and to suggest changes re same (2.9);
                         participate in BB team meeting re ongoing case
                         development and projects (.2);
3/23/2023 Jesse Bair     Participate in BB team meeting re case developments            0.20    $125.00
                         and associated projects (.2);
3/23/2023 Jesse Bair     Review and edit revised version of the Plan (.3); review       0.90    $562.50
                         and respond to correspondence with I. Scharf re
                         suggested edits to same (.2); review and edit further
                         revised version of the Plan received from the Diocese
                         (.2); review and edit newest iteration of the Plan (.2);
3/23/2023 Jesse Bair     Review CNA's claim objection to POC No. 1 (.2);                0.20    $125.00
3/23/2023 Jesse Bair     Review I. Scharf correspondence re CNA's claim                 0.10     $62.50
                         objections (.1);
     Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                     Description: Exhibit C Invoice 01101, Page 5 of 8
3/24/2023 Jesse Bair    Review revised version of the Diocese's Disclosure             1.00    $625.00
                        Statement (1.0);
3/24/2023 Jesse Bair    Review T. Burns' suggested edits to the Plan (.1);             0.20    $125.00
                        review I. Scharf response to same (.1);
3/24/2023 Jesse Bair    Review correspondence with I. Scharf and the                   0.10     $62.50
                        Committee re Plan and case updates (.1);
3/24/2023 Jesse Bair    Brief review of final version of the Plan (.1);                0.10      $62.50
3/24/2023 Timothy Burns Draft email memo to I. Scharf re suggested plan                1.60   $1,120.00
                        changes (.8); review correspondence from I. Scharf re
                        suggested Plan changes (.1); review correspondence
                        from I. Scharf re plan filing and CNA's claims objections
                        (.1); review and respond to additional correspondence
                        from I. Scharf re CNA's claims objections (.1); review
                        correspondence from B. Cawley and research re late
                        notice issues (.1); review CNA's objections to claims
                        (.2); review CNA's earlier joinder in claims objections of
                        Diocese (.1); review J. Bair's email re suggested
                        changes to portions of the Plan (.1);
3/25/2023 Jesse Bair    Correspondence with PSZJ and T. Burns re call to               0.10     $62.50
                        discuss CNA objections (.1);
3/27/2023 Timothy Burns Conference with J. Bair re CNA objections to claims            1.60   $1,120.00
                        (.1); conference with J. Bair re Interstate's motion to lift
                        stay (.1); participate in call with PSZJ and J. Bair re
                        CNA's objections and Interstate's motion (.4); review
                        agenda for state court counsel meeting (.1); multiple
                        emails with A. Turgeon re dockets in insurance
                        adversary and factual research issue (.2); review
                        adversary proceeding docket in connection with
                        Interstate's motion (.2); participate in weekly state court
                        counsel meeting for insurance purposes (.5);
3/27/2023 Leakhena Au Conference with B. Cawley re CNA's coverage denials              0.20     $84.00
                        in connection with CNA's claim objection motion (.2);
3/27/2023 Jesse Bair    Conference with T. Burns re CNA's claims objections            0.10     $62.50
                        (.1);
3/27/2023 Jesse Bair    Participate in conference with T. Burns re Interstate's        0.10     $62.50
                        motion to lift the stay on the insurance adversary
                        proceeding (.1);
3/27/2023 Jesse Bair    Participate in call PSZJ and T. Burns re ongoing case          0.40    $250.00
                        insurance issues, including CNA's claim objections and
                        Interstate's motion to lift stay (.4)
3/27/2023 Jesse Bair    Review agenda for state court counsel meeting (.1);            0.60    $375.00
                        participate in state court counsel meeting re Plan and
                        other ongoing litigation issues for insurance purposes
                        (.5);
3/27/2023 Jesse Bair    Review Interstate's motion to lift the stay of the             0.40    $250.00
                        insurance adversary proceeding (.3); review the Court's
                        prior order permitting the Committee's intervention in
                        the insurance adversary proceeding in connection with
                        same (.1);



    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit C Invoice 01101, Page 6 of 8
3/27/2023 Jesse Bair     Provide instructions to B. Cawley re additional analysis      0.30    $187.50
                         needed re CNA coverage denials and drafting of
                         insurance section of the Committee's motion to dismiss
                         or adjourn CNA's claims objections (.3);
3/27/2023 Jesse Bair     Review B. Cawley analysis re CNA coverage position            0.20    $125.00
                         on the 38 POCs subject to CNA's claims objections
                         (.1); correspond with B. Cawley re same (.1);
3/27/2023 Jesse Bair     Analyze B. Cawley email memorandum re an insurer's            0.10     $62.50
                         forfeiture of its ability to control the defense after
                         breaching the duty to defend (.1);
3/27/2023 Brian Cawley   Analyze case law re an insurer's forfeiture of its ability    0.80    $336.00
                         to control the defense after breaching the duty to defend
                         in connection with CNA's claim objection motion (.6);
                         draft summary of research re same for J. Bair (.2);
3/27/2023 Brian Cawley   Discuss new project on insurer right to control defense       0.30    $126.00
                         with J. Bair in connection with CNA's claim objection
                         motion (.3);
3/27/2023 Brian Cawley   Analyze prior CNA coverage correspondence to                  4.40   $1,848.00
                         identify specific denial letters for each of the POCs
                         objected to by CNA (3.2); begin supplemental research
                         re right to control defense issue in connection with the
                         Committee's response to CNA's claim objection motion
                         (1.2);
3/27/2023 Brian Cawley   Conference with L. Au re CNA's coverage denials in            0.20     $84.00
                         connection with CNA's claim objection motion (.2);
3/28/2023 Brian Cawley   Continue supplemental research re right to control            4.00   $1,680.00
                         defense issue in connection with the Committee's
                         response to CNA's claim objection motion (1.2); begin
                         drafting insurance section of the Committee's motion to
                         dismiss or adjourn CNA's claim objections (2.8);
3/28/2023 Jesse Bair     Additional analysis re CNA's claim objections (.1);           0.20    $125.00
                         correspond with V. Newmark re same (.1);
3/28/2023 Jesse Bair     Review correspondence from I. Scharf and B. Michael           0.10     $62.50
                         re potential abuse claims reviewer (.1);
3/28/2023 Jesse Bair     Answer B. Cawley questions re insurance section of the        0.10     $62.50
                         Committee's motion to dismiss or adjourn CNA's claim
                         objections (.1);
3/29/2023 Jesse Bair     Review initial version of draft insurance section             2.70   $1,687.50
                         prepared by B. Cawley for the Committee's motion to
                         dismiss CNA's claim objections (.3); supplemental
                         legal research re an insurer's inability to "cure" a prior
                         denial of coverage and forfeiture of the ability to control
                         the defense (.6); review prior CNA coverage
                         correspondence re its denials of coverage and prior
                         CNA claim objection joinders in connection with motion
                         to dismiss (.3); draft revised version of insurance
                         section to the Committee's motion to dismiss CNA's
                         claim objections (1.4); correspondence with PSZJ team
                         re same (.1);



    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit C Invoice 01101, Page 7 of 8
3/29/2023 Jesse Bair     Correspondence with B. Cawley re copies of CNA               0.20      $125.00
                         coverage denials for each claim objected to by CNA
                         (.1); participate in follow-up conference with B. Cawley
                         re same (.1);
3/29/2023 Jesse Bair     Correspondence with J. Carter re additional CNA              0.10        $62.50
                         coverage correspondence (.1);
3/29/2023 Jesse Bair     Participate in Committee meeting re ongoing case             0.50      $312.50
                         issues for insurance purposes (.5);
3/29/2023 Brian Cawley   Additional analysis re prior CNA coverage                    2.30      $966.00
                         correspondence to identify specific denial letters for
                         each of the POCs objected to by CNA for potential use
                         as motion exhibits (2.3);
3/29/2023 Brian Cawley   Correspondence with B. Cawley re copies of CNA               0.20        $84.00
                         coverage denials for each claim objected to by CNA
                         (.1); participate in follow-up conference with J. Bair re
                         same (.1);
3/30/2023 Jesse Bair     Review CNA's supplement to its Rule 2004 and 2019            0.10        $62.50
                         motions to compel (.1);
3/30/2023 Jesse Bair     Correspondence with B. Michael re the Committee's            0.10        $62.50
                         motion to dismiss CNA's claim objections (.1);
3/31/2023 Jesse Bair     Review the Diocese's letter motion and corresponding         0.10        $62.50
                         order re adjournment of Interstate's motion to lift the
                         stay on the insurance adversary proceeding (.1);
3/31/2023 Jesse Bair     Analysis re LMI Plan issues (.1); review                     0.20      $125.00
                         correspondence with I. Scharf re same (.1);
3/31/2023 Jesse Bair     Analysis re potential next-steps re Interstate's motion to   0.10        $62.50
                         lift the stay (.1);
Total Hours and Fees                                                                  59.40   $35,147.00

                                            EXPENSES


Date                     Description                                                            Amount
3/1/2023                 CloudNine, database monthly hosting fee (February                       $45.38
                         2023)
3/17/2023                Postage                                                                   $4.35
Total Expenses                                                                                    $49.73


                                      Timekeeper Summary
Name                                         Hours                    Rate                      Amount
Alyssa Turgeon                                  0.30              $360.00                       $108.00
Brian Cawley                                  14.90               $420.00                      $6,258.00
Jesse Bair                                    25.80               $625.00                     $16,125.00
Leakhena Au                                     0.50              $420.00                       $210.00
Nathan Kuenzi                                   0.30              $420.00                       $126.00
Timothy Burns                                 17.60               $700.00                     $12,320.00


    Case 2-19-20905-PRW, Doc 2222-3, Filed 09/15/23, Total     Due This
                                                            Entered      Invoice:
                                                                     09/15/23     $35,196.73
                                                                              14:06:46,
                    Description: Exhibit C Invoice 01101, Page 8 of 8
